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Case 1:12-cv-01176-T.]S Document 61 Filed 02/27/15 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MARYLAND
JANICE SHOCKEY, et al

 

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Plaintiff *
v. * Civil No.: TJS-12-1176
DOCTORS EMERGENCY SERVICES,
P.A., et al
*
Defendant
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CERTIFICATION - ` .;.,‘;i 13 945-n
EXHIBITS TO BE SUBMITTED T0 JURY \ §§ w ;:,»‘;;§F
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i. F- w ;'~£. 140
l §§ § §§
The undersigned counsel for the parties in this case hereby certify that they ‘ha e'§)".`: d5 ;-"-"-C;
a ma »~ 273
.»{‘_; -'" "
marshaled all trial exhibits in this case With the Courtroom Deputy Clerk, and that th§»'y are "`°
satisfied, and do hereby stipulate that all of the trial exhibits that have been admitted into

evidence are to be sent to the jury room for use in jury deliberations

for Pl ntiff

Joyc

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Counsel for Defendant

 

Date: February 26, 2015

s . avidA. Rolin Esq.
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U.S. District Court (Rev. 5/2000] - Certif“ication - Exhibits to be Submitted to jury (Pleading)

